     Case 3:22-mj-00884-BK Document 7 Filed 09/16/22                       Page 1 of 1 PageID 26
                                     UNITED STATES DISTRICT COURT
                                      FOR THE Northern District of Texas
                                                  Dallas


USA                                                    )
        Plaintiff,                                     )
                                                       )
v.                                                     )     Case Number: 3:22−mj−00884−BK
                                                       )
Raynaldo Rivera Ortiz, Jr.                             )
       Defendant.                                      )

                                 ORDER OF TEMPORARY COMMITMENT

        On this date the defendant made an initial appearance after having been arrested in this

district for an offense against the laws of the United States.

        The government moved for a hearing to determine whether any condition or combination of

conditions will reasonably assure the defendant's appearances and the safety of any other person

and the community (18 U.S.C. § 3142(f), as amended P.L. 98−473, 98 Stat. 1873).

        Counsel for the defendant moved for a continuance of such hearing. IT IS, THEREFORE,

ORDERED that the hearing is to be held on 9/19/2022 at 10:00 AM before Magistrate

Judge David L. Horan, unless extended for good cause.*

        IT IS FURTHER ORDERED that the defendant is committed to the custody of the United

States Marshal for confinement in a corrections facility separate, to the extent practicable, from persons

awaiting or serving sentences or being held in custody pending appeal, pending the above scheduled

detention hearing.

        A copy of this order shall be transmitted to counsel for the parties.

SIGNED 9/16/2022.




                                                             Renee Harris Toliver
                                                             Magistrate Judge

* A continuance on behalf of the government will be granted without a hearing only upon the written consent of
the Defendant or his attorney. A continuance on behalf of the Defendant will be granted without a hearing upon
the written request of the Defendant or his attorney. Continuances shall not exceed five work days from the
original setting for the Detention Hearing.
